                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION

                                 Civil Action No. 4:08-CV-23-FL


PATRICIA E. MURPHY,                             )
                                                )
       Plaintiff,                               )
                                                )
               v.                               )
                                                )
JAMES T. PATTEN,                                )
GREATER METROPOLITAN                            )
INVESTMENT SERVICES, INC.,                      )
T. R. WINSTON & CO., LLC,                       )
EMPIRE FINANCIAL GROUP, INC.,                   )
and CHINTAMAN M. DALVI,                         )
                                                )
       Defendants.                              )
                                                )


                                   SATISFACTION OF JUDGMENT


TO THE CLERK OF THE ABOVE-NAMED COURT:

       WHEREAS, on May 9, 2008, the United States District Court for the Eastern District of

North Carolina, Eastern Division entered default judgment against Defendants James T. Patten

and Greater Metropolitan Investment Services, Inc jointly and severally in the amount of

$753,417.50 in the above entitled action, and

       WHEREAS, the judgment amount together with interest has been satisfied in full.

     NOW THEREFORE this is your warrant and authority to enter on the aforesaid record

this satisfaction of judgment.




MURPHY.0105.N.C. SATISFACTION OF JUDGMENT.DOC


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June 7, 2010                         /s/ Andrew O. Whiteman
Date                                 Andrew O. Whiteman, Esq.
                                     North Carolina Bar Number 9523
                                     Hartzell & Whiteman, L.L.P.
                                     Attorneys for Plaintiff
                                     2626 Glenwood Avenue, Suite 500
                                     Raleigh, North Carolina 27608
                                     Telephone: (919) 571-8300
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the attached document or pleading was

served upon all parties by United States Mail, addressed to:

               James T. Patten
               23 Crest Drive
               Basking Ridge, NJ 07920

               Greater Metropolitan Investment Services, Inc.
               c/o James T. Patten
               23 Crest Drive
               Basking Ridge, NJ 07920



June 7, 2010                                 /s/ Andrew O. Whiteman
Date                                         Andrew O. Whiteman




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